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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  LAMARR BETTS,                                          )
  RENEE BETTS,                                           )
                                                         )
                                Plaintiffs,              )
                                                         )
                           v.                            )       No. 1:18-cv-02923-TWP-TAB
                                                         )
  CROWN EQUIPMENT CORPORATION,                           )
  INTELLIGRATED SYSTEMS, LLC,                            )
  WAL-MART STORES INC.,                                  )
  STEWART-GLAPAT CORPORATION,                            )
                                                         )
                                Defendants.              )

                                                 ORDER

          The Court has been advised by counsel that a settlement has been reached as to

  Defendants Intelligrated Systems, LLC, Crown Equipment Corporation and Stewart Glapat

  Corporation ONLY in this action. Therefore, any pending motions are denied as moot, and all

  previously ordered dates relating to discovery, filings, schedules, conferences and trial, if any,

  are vacated as to Defendants Intelligrated Systems, LLC, Crown Equipment Corporation and

  Stewart Glapat Corporation ONLY. These parties shall file a stipulation of dismissal within 28

  days.


          Dated: 3/1/2021




                                              _______________________________
                                              Tim A. Baker
                                               United States Magistrate Judge
                                              Southern District of Indiana


  Distribution:

  All ECF-registered counsel of record via email
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